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#4. Green, Charles Ike 16315
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CPO3L.163 (Rev. 1/82)

USE REVERSE SIDE FOR DETAILS OF CRIME SCENE PROCES!

DETECTIVE DIVISION AREA COPY

